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9
                                  UNITED STATES DISTRICT COURT
10
                                NORTHERN DISTRICT OF CALIFORNIA
11
                                       SAN FRANCISCO DIVISION
12
13   UNITED STATES OF AMERICA,                     )       No. CR 06-0090-MHP
                                                   )
14           Plaintiff,                            )
                                                   )
15      v.                                         )
                                                   )       STIPULATION AND [PROPOSED]
16   HARUT KORAKOSSIAN,                            )       ORDER TO CONTINUE STATUS
       a/k/a Harry Korakossian,                    )       HEARING AND EXCLUDE TIME
17     a/k/a Harut Korakissian,                    )       UNDER THE SPEEDY TRIAL ACT
       a/k/a Harry Korakissian,                    )       FROM APRIL 17, 2006 TO MAY 15, 2006
18     a/k/a Harutyun Kirakossian,                 )
     WILSON FUNG,                                  )
19   EDWARD RIDGELL, and                           )
     DAISY TORRES CRUZ,                            )
20                                                 )
                                                   )
21                                                 )
             Defendants.                           )
22                                                 )
23
24
                                              STIPULATION
25
        1. On April 17, 2006, Harut Korakossian appeared before the Court for his first appearance
26
     in district court in the Northern District of California before the Honorable Marilyn Hall Patel.
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     The parties requested a continuance to May 15, 2006, in order to allow (1) the government to
28

     ORDER
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1    produce discovery to the defendants (upon receipt of a Rule 16 discovery request); and (2) to
2    allow defense counsel adequate time to review discovery and prepare for trial.
3       2. Co-defendant’s Ridgell and Fung had a previously scheduled status hearing set for April
4    24, 2006 at 10:00 a.m. before the Honorable Marilyn Hall Patel. Counsel for Ridgell, Assistant
5    Federal Public Defender Geoff Hansen appeared and agreed to continue that status hearing to
6    May 15, 2006 and to continue to exclude time under the Speedy Trial Act to allow defense
7    counsel adequate time to prepare for trial.
8       3. Ellen Barry, counsel for Fung, was not present for the hearing on April 17, 2006, but was
9    informed of the proposed continuation of the case and the exclusion of time under the Speedy
10   Trial Act immediately after the hearing. Ms. Barry agreed to this continuance and exclusion of
11   time on behalf of her client.
12      4. The Court excused all three of the defendants from appearing on May 15, 2006.
13      5. Both counsel and defendants stipulate and agree that time should be excluded from April
14   17, 2006 through and including May 15, 2006 from the Speedy Trial Act under 18 U.S.C. §§
15   3161(h)(8)(A) and (B)(iv) in order to allow a reasonable amount of time for the defense to
16   effectively prepare for trial, taking into account the exercise of due diligence.
17   SO STIPULATED.
18
     DATED: 5/8/06                                  ______________/s/______________
19                                                  GEOFF HANSEN
                                                    Attorney for Defendant A. RIDGELL
20
21   DATED: 4/24/06                                 _____________/s/_______________
                                                    ELLEN BARRY
22                                                  Attorney for Defendant FUNG
23
     DATED: 4/21/06                                 ____________/s/________________
24                                                  ARTHUR K. WACHTEL
                                                    Attorney for Defendant KORAKOSSIAN
25
26
     DATED: 5/9/06                                  ____________/s/________________
27                                                  CANDACE KELLY
                                                    Assistant United States Attorney
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     ORDER
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1                                                 ORDER
2       The Court finds that there is good cause for the extension of time described above, and
3    that the ends of justice served by granting this continuance outweigh the best interests of the
4    public and of the defendants in a speedy trial and the prompt disposition of criminal cases. 18
5    U.S.C. § 3161(h)(8)(A). The Court further finds that failure to grant the continuance would deny
6    the defendants and their counsel the reasonable time necessary for effective preparation taking
7    into account the exercise of due diligence and continuity of counsel under 18 U.S.C. §
8    3161(h)(8)(B)(iv).
9       Accordingly, and with the consent of the defendants, the Court continues the matter to May
10   15, 2006, for a status hearing before the Honorable Judge Patel at 10:00. The Court further
11   orders that the period from April 17, 2006 through and including May 15, 2006 be excluded from
12   the Speedy Trial Act calculations under 18 U.S.C. § 3161(h)(8)(A) and (B)(iv).
13   IT IS SO ORDERED.
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            May 11, 2006
     DATED:________________


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                                                   MARILYN HALL PATEL D
                                                                 RDERE JUDGE
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                                                   UNITED STATES
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     ORDER
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